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Via CM/ECF

Honorable John Robert Blakey
United States District Court
Northern District of Illinois
Everett McKinley Dirksen U.S. Courthouse
219 South Dearborn Street
Chicago, IL 60604


Re: Protect Our Parks v. Chicago Park District, No. 18-cv-3424 (N.D. Ill.)


Dear Judge Blakey,

We represent amici curiae Park Museums in Protect Our Parks v. Chicago Park District, No.
18-cv-3424. This Court previously granted the Park Museums leave to file an amicus brief in
support of Defendants’ motion to dismiss or for judgment on the pleadings. Dkt. 64; see Dkt. 61.
After the amicus brief was filed, the Court converted Defendants’ motion for judgment on the
pleadings into a motion for summary judgment. Dkt. 79. Defendants filed their opening brief on
May 3, 2019. Dkt. 122.

For the reasons articulated in their prior motion for leave, the Park Museums believe that their
amicus brief will aid the Court as it considers Defendants’ motion for summary judgment. In
particular, the Park Museums believe that they are in a unique position to provide the Court with
insight and perspective that is not available to the parties. The Park Museums also believe that
their amicus brief provides the Court with historical context about the long tradition of locating
museums in Chicago’s public parks and about potential practical consequences that may result if
Defendants’ motion is denied.

Accordingly, Park Museums respectfully request that this Court deem their previously filed
amicus brief (Dkt. 61-1) as filed in support of Defendants’ Motion for Summary Judgment (Dkt.
122), and consider their amicus brief in connection with Defendants’ pending motion.

Respectfully,

/s/ Craig C. Martin

Craig C. Martin
Chairman of Jenner & Block LLP

cc: All counsel, by CM/ECF
